Case 2:20-cv-12880-JMV-JSA Document 79-22 Filed 04/22/21 Page 1 of 2 PageID: 1738




  IN THE UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF NEW JERSEY
   DANIEL D’AMBLY, AARON WOLKIND,
   STEVE HARTLEY, RICHARD SCHWETZ,          CIVIL ACTION NO.: 2:20-
   JOBEL BARBOSA, MATTHEW REIDINGER,        cv-12880-
   JOHN HUGO, SEAN-MICHAEL DAVID            JMV-JSA
   SCOTT, THOMAS LOUDEN, ZACHARY
   REHL, AMANDA REHL, K.R., a minor, by and
   through her father ZACHARY REHL, and her  ORDER (PROPOSED)
                                             GRANTING
   mother AMANDA REHL, MARK ANTHONY
                                             DEFENDANT
   TUCCI,                                    CHRISTIAN EXOO’S
         Plaintiffs,                         MOTION PURSUANT
                                             TO F.R.C.P. RULES
   vs.                                       12(b)(1), 12(b)(2) AND
                                             12(b)(6) TO DISMISS
   CHRISTIAN EXOO a/k/a ANTIFASH             WITH PREJUDICE
   GORDON; ST. LAWRENCE UNIVERSITY;          COUNTS II, III, IV, V,
   TRIBUNE PUBLISHING COMPANY; NEW           VI, VIII, IX, X OF
   YORK DAILY NEWS; VIJAYA GADDE;            PLAINTIFF’S
   TWITTER, INC; COHEN, WEISS AND SIMON, COMPLAINT
   LLP;

         Defendants.




        THIS MATTER having come before the Court on motion to dismiss

  pursuant to Federal Rule of Civil Procedure Rules 12(b)(1), 12(b)(2) and 12(b)(6)

  brought by Defendant Christian Exoo through counsel, the Marlborough Law

  Firm, P.C., Richard J. Torres Esq. and Law Office of Margulis-Ohnuma seeking an

  order dismissing Counts II, III, IV, V, VI, VIII, IX, X of Plaintiff’s Complaint in
Case 2:20-cv-12880-JMV-JSA Document 79-22 Filed 04/22/21 Page 2 of 2 PageID: 1739




  their entirety with prejudice; and the Court having reviewed and considered the

  papers submitted by counsel, and for good cause shown with due deliberation

  thereon,

        IT IS ON THIS _______ day of __________________, 2021;

        ORDERED that Defendant Christian Exoo’s motion to dismiss is hereby

  granted;

        IT IS FURTHER ORDERED that Counts II, III, IV, V, VI, VIII, IX, X of

  Plaintiffs’ Complaint are hereby dismissed with prejudice in its entirety as to

  Defendant Christian Exoo; and

        IT IS FURTHER ORDERED that counsel for Defendant Christian Exoo

  shall forward a true copy of this Order to all counsel of record within __days

  hereof.



  ________________________________
  HON. JOHN M. VASQUEZ
  U.S. DISTRICT COURT JUDGE
